Case 3:17-cv-00141-JMS-MPB Document 1-1 Filed 09/08/17 Page 1 of 18 PagelD #: 6

Filed: 8/46/2017 3:10 PM
. Clerk
Vanderburgh Superior Court 7 Vanderburgh County, Indiana

STATE OF INDIANA ) SS: IN THE VANDERBURGH CIRCUIT COURT

)
COUNTY OF VANDERBURGH ) CAUSE NO: 82D0 -17
82D07-T708-CT 504348

REXING QUALITY EGGS, ) SUMMONS BY CERTIFIED MAIL
Plaintiff, )
) TO: ‘
Vv. } REMBRANDT ENTERPRISES, INC.
) fo CT Corporation System, Registered Agent
REMBRANDT ENTERPRISES, INC., ) 400 E. Court Avenue

Defendant. ) Des Moines, [A 50309

TO ABOVE NAMED DEFENDANT OR DEFENDANTS: ’
You have been sued by the person(s) named “Plaintiff” in the Court stated above. The nature of the suit

against you is stated in the Complaint which is attached to this document. It also states the demand which the

Plaintiff has made and wants from you. You must answer the Complaint in writing, by you or your attorney,

within twenty (20) days, commencing the day after you receive this summons, or judgment may be entered

against you for what the Plaintiff has demanded. If you have a claim for relief against the Plaintiff, arising

from the same transaction or occurrence, you must assert it in your written answer.

The following manner of service of summons is hereby designated:
CERTIFIED MAIL, Tracking No.

 

CERTIFICATE OF ISSUANCE OF SUMMONS
1 hereby certify, that on ; 2017, 1 mailed a copy of this summons and a copy of the
Complaint and Appearance to the above famed Defendant, Rembrandt Enterprises, Inc., by Certified Mail,
.Tequesting a return receipt signed by the addressee only, addressed to said Defendant, at the address furnished

 

 

 

by the Plaintiff.

Date:

(Seal) (Printed)
RETURN ON SERVICE OF SUMMONS BY MAIL

hereby certify that service of summons with return receipt requested was mailed on , 2017

that a copy of the return receipt was received on , 2017 which a copy is attached herewith.

Date:

(Seal) (Printed)

 

Date: _ August 16, 2017
James D. Johnson , Atty No 11984-49

Spencer W. Tanner, Atty. No. 3243649
Attomeys for Plaintiff

‘JACKSON KELLY PLLC

221 N.W. Fifth Street, P.O. Box 1507
Evansville, Indiana 47706-1507

Tele: 812-422-9444 Fax: 812-421-7459
jdjohnson@jacksonkelly.com
spencer.tanner@jacksonkelly.com

SUMMONS BY CERTIFIED MAIL:
Rembrandt Enterprises, Inc.

c/o CT Corporation System, Registered Agent
400 E. Court Avenue

Des Moines, TA $0309 _-EXBIBIT

 
Case 3:17-cv-00141-JMS-MPB Document 1-1 Filed 09/08/17 Page 2 of 18 PagelD #: 7

Filed: 8/16/2017 3:10 PM

Clerk
Vanderburgh Superior Court 7 Vanderburgh County, Indiana
STATE OF INDIANA ) IN THE VANDERBURGH CIRCUIT COURT
) SS:
COUNTY OF VANDERBURGH ) CAUSE NO: 82D0_-17_. -CT-__
82D07-1708-CT-004348
REXING QUALITY EGGS, )
Plaintiff, )
)
v. )
)
REMBRANDT ENTERPRISES, INC., }
Defendant. )
COMPLAINT

Comes now Plaintiff, Rexing Quality Eggs (“Rexing”), by counsel, Jackson Kelly PLLC,

and for its Complaint against Rembrandt Enterprises, Inc. (“Rembrandt”) states as follows:

GENERAL ALLEGATIONS
1, Rexing is an Indiana general partnership with a principal office address located in
Evansville, Indiana.
2. Rexing is in the business of grading and wholesaling eggs.
3. Rexing’s business involves purchasing eggs and distributing them to retail
locations.
4, Rembrandt is a foreign corporation with facilities located in Rembrandt, Iowa,

and a contact address located in Spirit Lake, Iowa, that engages in business throughout the
United States.

5. Rembrandt produces eggs for human consumption at its farming facilities.

6. On September 2, 2016, Rexing and Rembrandt entered into a Purchase Agreement
(“Agreement”) for White Nest Run Shell Eggs (“Shell Eggs”). The Agreement is attached as
Exhibit 1.

7. The Shell Eggs were to be produced, advertised and sold as “Cage Free.” This was

considered a new, specialized premium product (“Premium Products”).
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. 8 The Agreement was prepared exclusively by Rembrandt.
COUNT J - EXCUSED PERFORMANCE

9. Rexing incorporates by reference all allegations set forth in paragraphs 1-8 as
though set forth fully herein.

10. | Rembrandt and Rexing agreed that certain acts outside of the contro! of either party
that would excuse performance by either party. Specifically, the Agreement states “Any... failure of
either party to perform its obligations under this Agreement shall be excused if, and to the extent
that the...failure is caused or materially contributed to by force majeure or other acts or events
beyond the reasonable control of a party hereto.” Ex. 1, O.

11. Rembrandt assumed the risk that Rexing may invoke this provision to excuse its
performance by writing the provision into the Agreement.

12. Consumer demand for the Premium Products unexpectedly fell because customers
became unwilling to purchase them when lower-priced cage eggs were available,

13. Directly in response to the significant and unexpected reduced consumer demand for
Premium Products, Rexing notified Rembrandt that it was exercising its rights under the Agreement
by taking eight loads of Shell Eggs rather than the usual twelve during the week of May 22-28,
2017.

14. _ Directly in response to the significant and unexpected reduced consumer demand for
Premium Products, Rexing notified Rembrandt that it was exercising its rights under the Agreement
by taking four loads of Shell Eggs rather than the usual twelve during the week of May 29-June 4,
2017.

15. Directly in response to the significant and unexpected reduced consumer demand for
Premium Products, Rexing notified Rembrandt that it was exercising its rights under the Agreement

by taking no loads of Shell Eggs since June 5, 2017.
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16. The significant drop in consumer demand for Premium Products was an event
beyond the reasonable control of Rexing under the terms of the Agreement.

17, The significant drop in consumer demand for Premium Products qualifies as an
event excusing Rexing’s performance under the terms of the Agreement.

18. Rexing is entitled to attorney fees and costs pursuant to the Agreement.

19. Declaratory relief as to the invocation and the enforcement of the Agreement will
‘terminate the controversy among the parties and/or remove uncertainty under this cause.

COUNT II —- BREACH OF EXPRESS WARRANTIES

20. Rexing incorporates by reference all allegations set forth in paragraphs 1-19 as
though set forth fully herein.

21, | Rembrandt expressly warranted the specifications of the loads of Shell Eggs. See
Exhibit A to Exhibit 1 (“Specifications”).

22. A high percentage of the loads of Shell Eggs sold to Rexing failed the
Specifications.

23. Rembrandt was notified that a high percentage of the loads of Shell Eggs sold to
Rexing did not meet the Specifications.

24. Rembrandt’s Shell Eggs sold to Rexing did not conform to its express warranty,
and Rembrandt breached the express warranty provision in the Agreement.

25. Rexing has suffered damages as a result of Rembrandt’s breach and failure to
comply with its expressed warranty contained in the Agreement.

26. — Rexing is entitled to attorney fees and costs based on Rembrandt's breach of its

express warranty.

 
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PRAYER FOR RELIEF

WHEREFORE, Rexing respectfully prays for the following:

(a) A declaratory judgment in favor of Rexing and against Rembrandt, pursuant to Ind.
Code § 34-14-1-1, et seq., interpreting the Agreement, and declaring that Rexing is excused from its
obligations to perform under the Agreement due to events beyond its reasonable control;

(b) Relief as applicable judgment against Rembrandt in the amount sufficient to
compensate Rexing for damage sustained;

(c) Consequential and incidental damages;

(d) Termination of the Agreement;

(e) — Pre-judgment and post-judgment interest;

() Attorneys’ fees and expenses; and,

(g) Any and all other just and proper relief in the premises.

Dated: August 16, 2017 Respectfully submitted,
JACKSON KELLY PLLC

/s/ James D. Johnson

James D. Johnson, 11984-49

Spencer W. Tanner, 32436-49

P.O. Box 1507

Evansville, IN 47706

Email: jdjohnson@jacksonkelly.com;
spencer.tanner@jacksonkelly.com

Telephone: (812) 422 ~ 9444

Fax: (812) 421 — 7459

Counsel for Plaintiff, Rexing Quality Eggs
Case 3:17-cv-00141-JMS-MPB Document 1-1 Filed 09/08/17 Page 6 of 18 PagelD #: 11

REQUEST FOR TRIAL BY JURY

Plaintiff, Rexing Quality Eggs, respectfully requests trial by jury on all counts of this Complaint.

4s/James D. Johnson

James D. Johnson, 11984-49

Spencer W. Tanner, 32436-49

P.O. Box 1507

Evansville, IN 47706

Email: jdjohnson@jacksonkelly.com;
spencer.tanner@jacksonkelly.com

Telephone: (812) 422 — 9444

Fax: (812) 421 ~— 7459

Counsel for Plaintiff, Rexing Quality Eggs

CERTIFICATE OF TRIAL RULE 5(G) COMPLIANCE

I hereby certify that the foregoing document complies with the requirements of Trial Rule 5(G)
with regard to information excluded from the public record under Administrative Rule 9(G).

4s/ James D. Johnson

@

 
Case 3:17-cv-00141-JMS-MPB Document 1-1 Filed 09/08/17 Page 7 of 18 PagelD #: 12

EXHIBIT 1

 
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Rembrandt Foods

 

Parties;

Date:

A.

B.

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Rembrandt Enterprises, Inc. Rexing Quality Eggs
1521 18" Street 4501 Hitch Peters Road
Spirit Lake, Iowa 53360 Evansville, IN 47711
(“Rembrandt”) (“Purchaser”)
September 2 , 2016
Product: White Nest Run Shell Eggs (the “Shell Eggs”) meeting the

requirements contained on Exhibit A, attached hereto.

Volume: Purchaser shall purchase, and Rembrandt will supply, twelve (12)
loads of Shell Eggs per week during the Term, as hereinafter defined,
commencing the week of October 3, 2016. For pusposes of this Agreement, a
“load” is comprised of no less than 25 pallets (or such lesser number of pallets as
are may be required to avoid violating applicable gross weight transportation
requirements,) with approximately 900 dozen Shell Eggs per pallet, The Parties
have agreed to permit Rembrandt a period of time to meet this schedule. Without
limitation, the schedule below is a tentative ramp up schedule expected to be in
place for deliveries through the week of December 25 (the “Ramp Up Period,”)
whereby Rembrandt has the right to source certain loads from other locations, and
to supply less than twelve loads per week, until all loads can be supplied from
Tipton, Missouri location:

Loads
Tipton, M@O 8 8=3—- Other Total
Start Date Loads Locations Loads

6
8
12
12

12
12
12
12
12

 

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Rembrandt Foods

 

Price: The price (“Price”) for Shell Eggs purchased by Purchaser hereunder for
the Initial Term, as hereinafter defined, shall be $0.85 per dozen, FOB, Tipton,
Missouri, or, during the Ramp Up Period, from other locations designated by

‘Rembrandt. In the event that Rembrandt designates an alternative location for

pick up of the Shell Eggs by Purchaser, the Price for the Shell Eggs shall be $0.80
per dozen, FOB such alternative location. The Price for Shell Eggs for each
Continuation Term thereafter shall be mutually agreed upon between the parties,
as specified in Section F,

Freight/Transportation/Loading: Purchaser is responsible for arranging and
paying for any necessary transportation from the origination point. Rembrandt
shall, however, be responsible for completing all loading of eggs onto trucks.
Purchaser may, from time to time, provide recommendations and guidance upon
desired loading procedures; provided, that any changes from Rembrandt loading
practice will be mutually agreed upon. Loading shall take place at mutually
agreed upon dates and times; provided, that all loading shall be required to occur
between 7:00 a.m, and 4:00 p.m. during any loading day. Purchaser shall supply
all required materials (i.e., without limitation, all pallets, flats, boards) necessary
to packing and shipping the Shell Eggs for Purchaser hereunder. All such
materials are to be properly washed clean, sanitized and dried by Purchaser at
Purchaser's facility (and at Purchaser's expense) prior to providing materials to
Rembrandt’s facility for use in egg packing.

, Payment: Payment terms are Net 21 days from invoice date. Failure of

Purchaser to pay any past due invoice shall give Rembrandt the right to suspend
future shipments until previous shipments are paid for, and/or, at the option of
Rembrandt, to terminate this Agreement by giving written notice thereof to
Purchaser. Past due invoices shall be subject to an interest charge of one percent
(1%) per month.

Term of Agreement: This Agreement will be for an initial term commencing as
of October 3, 2016 (“Commencement Date") and terminating October 3, 2017
(the “Initial Term”). Thereafter, this Agreement shall continue for three (3) year
one year periods thereafter (each, a “Continuation Term,” and together with the
Initial Term, the “‘Term,”) unless terminated by either party upon written notice to
the other party at least three (3) months notice prior to the expiration of the Initial
Term or any Continuation Term thereafter. If Rembrandt’s decision to terminate
is based upon an offer with improved pricing or other terms and conditions from a
third party, Rembrandt will, accompanying such notice, provide to Purchaser a
summary of the material terms of such third party offer. Lf Purchaser, does not,
within fifteen (15) days of receipt of such third party offer, agree (in a form
satisfactory to Rembrandt) to match the terms of such third party offer,
Rembrandt will be entitled to pursue such third party offer, and this Agreement
shall terminate as provided in this Section. Notwithstanding the foregoing, if the

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Rembrandt Foods

Price for Shell Eggs is not mutually agreed upon at least two (2) months prior to
the commencement of any Continuation Term, cither party shall be entitled to
terminate this Agreement upon written notice the other party.

Specifications: Rembrandt will produce and supply Shell Eggs according
to the specifications set forth in Exhibit A, attached hereto and part hereof.

Title and Risk of Loss: Title and Risk of loss to Shell Eggs shall pass to
Purchaser upon loading at in Tipton, Missouri, or such other location designated
by Rembrandt for loading hereunder.

Warranties: Rembrandt represents and warrants to Purchaser that all Shell Eggs
sold to Purchaser pursuant to this Agreement will not be adulterated or
misbranded within the meaning of the Federal Food, Drug and Cosmetic Act, as
amended, and not be an article which may not be introduced into interstate
commerce under the provisions of Section 404 or 405 of such act. NO OTHER
REPRESENTATION OR WARRANTIES OF ANY KIND OR NATURE,
WHETHER EXPRESS OR IMPLIED, OR OTHERWISE ARE MADE OR

. INTENDED BY REMBRANDT WITH RESPECT TO THE SHELL EGGS,

AND REMBRANDT SPECIFICALLY DISCLAIMS ANY WARRANTIES OF
MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE,

Assignment: This Agreement shall not be assigned by either party without the
other party’s prior wriften consent. Notwithstanding the foregoing, the parties
agree that Rembrandt shall be entitled to assign its right to payment under this
Agreement as partial security for financing, to the financial institution(s) which
have provided financing to Rembrandt.

Governing Law: This Agreement shall be governed by and construed under the
laws of the State of Iowa.

Other Terms: In no event shall Rembrandt be responsible for any lost profits, or
any special, indirect, incidental, consequential, or punitive damages, even if
advised in advance of the possibility of such damages.

Waiver: The failure of either party to insist in any one or more instances upon
performance of any terms or conditions of this Agreement shall not be construed
as a waiver of future performance of any such terms and conditions, but the
obligations of each party shall continue in full force and effect.

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Rembrandt Foods

 

O. Force Majeure: Any delay or failure of either party to perform its obligations
under this Agreement shall be excused if, and to the extent that the delay or
failure is caused or materially contributed to by force majeure or other acts or
events beyond the reasonable control of a party hereto, During the period of the
delay or failure to perform by Rembrandt, the Purchaser may, at its option,
purchase Shell Eggs from other sources.

P, Entire Agreement: This writing constitutes the entire understanding of
Rembrandt and Purchaser and supersedes all previous agreements, proposals or
negotiations, between the parties with respect to the subject matter hereof. No
modification, alteration or change in the terms hereof shall be effective unless
made in writing and signed by both Purchaser and Rembrandt,

IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of
the date written below. ‘

hp. ENTERPRISES, INC, | REXING QUALITY EGGS
Title: Aen Sek Title: YP oft  Oppeattoas
Date: F HSE Date: 7- 2-/lo

 

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Rembrandt Foods

EXHIBIT A
SPECIFICATIONS

Each load with be inspected at Joading. and all Shell Epgs will be supplied in
compliance with the following specifications:

Exe Specifications ~ All Shell Eggs shall be white eggs.
Average case weights for each load of Shell Eggs shall be between 47 Ibs. and $2 Ibs,

Shell Eggs loaded into Purchaser pick up vehicles shall be no older than 7 days from the
date of lay.

Certified Humane — All facilities producing Shell Eges under this Agreement shall be
certified by Humane Farm Animal Care, or an appropriate successor organization, as
“Certified Humane” or its equivalent, based upon the standards in effect as of the date of
this Agreement. In the event of a change in the requirements to obtain certification after
the date of this Agreement, the parties shall adjust the Price of the Shell Eggs hereunder
to reflect the cost associated with Rembrandt implementing necessary changes. If
Purchaser does not request Rembrandt to implement any necessary changes to maintain
“Certified Humane” certification, the Purchaser may choose to go with an equivalent or
Successor organization; provided, that any changes required by Rembrandt to comply
with the requirements of such equivalent or successor organization shall require an

. adjustment to the Price of the Shell Eggs hereunder to. reflect.the cost associated with .
Rembrandt implementing any necessary changes.

Inspection and Grading — All Shell Eggs hereunder shall be inspected within len (10)
business days of receipt by Purchaser at the Purchaser's ns se hugl . AR. facility,
and Purchaser shall be obligated to notify Rembrandt, in writing, within such ten (10)
business day period of any failure to conform with the specifications and requirements
herein. With respect to each load of Shell Eggs, ninety-one and a half percent (91.5%) of
such Shell Eggs shall grade out as Grade A, and specifically, no more than eight and a
half percent (8.5%) of any load of Shell Eggs shall grade out as restricts or losses. With
regard to any load in which in excess of eight and a half percent (8.5%) of Shell Eggs
grade as restricts or losses (such excess restricts and losses in a load hereinafter the
“Excess Losses”) as reported, in writing, to Rembrandt (with grading documentation
attached) no Inter than ten (10) business days following receipt by Purchaser of such load,
Rembrandt shall issue a credit for such Excess Losses, so that the payment by Purchaser
for such Shell Eggs comprising the Excess Losses will be equal to five cents back of the
High Side Breaker Market quoted on the Thursday prior to the date of shipment, in licu
of the payment specified in this Agreement, Notwithstanding the foregoing, in no event
shall a deduction on any load of Shell Eggs exceed a deduction on ten percent (10%) of
the Shell Eggs in such load.

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Case 3:17-cv-00141-JMS-MPB Document 1-1 Filed 09/08/17 Page 13 of 18 PagelD #: 18

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Rembrandt Foods

 

In the event of any material breach of any of the specifications noted above, Purchaser
shall provide immediate notice to Rembrandt and an opportunity to review and confirm
the failure. As Purchaser’s sole remedy for such non-compliance, Purchaser shall have
the right to reject any load in which the parties agree upon such non-compliance, and
Rembrandt shall be responsible in the case of a rejected load, for reimbursing Purchaser
its cost incurred for freight to deliver such load to Purchaser’s grader, and Rembrandt
shall be responsible for the freight to retum the shipment to Rembrandt’s designated
location.

The parties may from time to time agree upon changes in production by Rembrandt in
order to achieve certain agreed upon specialty egg characteristics. Prior to implementing
any such change, the parties shall agree to an adjustment in the Price under this
Agreement to compensate Rembrandt for implementing any such change.

Rembrandt shall be entitled to observe the grading process to validate the calculations of

Shell Eggs qualifying as restricts and losses, In the event of disagreement with the

number of Shell Eggs grading out as restricts and losses Rembrandt shall be entitled to
require an independent evaluation or review of the Shell Eggs, to validate the
determination of restricts and losses.

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Filed: 8/16/2017 3:10 PM

Clerk

Vanderburgh Superior Court 7 Vanderburgh County, Indiana

STATE OF INDIANA ) IN THE VANDERBURGH CIRCUIT COURT
) SS:
COUNTY OF VANDERBURGH ) CAUSE NO: 82D0_ -17 -CT-
REXING QUALITY EGGS, ) 82D07-1708-CT-004348
Plaintiff, )
)
v. )
)
REMBRANDT ENTERPRISES, INC., )
Defendant. )

APPEARANCE BY ATTORNEY IN CIVIL CASE

This Appearance Form must be filed on behalf of every party in a civil case.

1. The party on whose behalf this form is being filed is:
Initiating — X Responding Intervening ; and

 

 

the undersigned attorney and all attorneys listed on this form now appear in this case for
the following parties:

Name of party: Rexing Quality Eggs
4501 Hitch Peters Road
Evansville, IN 47711

2. Attorney information for service as required by Trial Rule 5(B)(2)

 

 

 

 

 

 

 

 

 

 

 

 

Name: James D. Johnson
Atty Number: 11984-49
Address: 221N.W. Fifth Street
P.O. Box 1507, Evansville, Indiana_47706
Phone: 812-422-9444
FAX: . 812-421-7459
E-mail Address: jdjohnson@jacksonkelly.com
Name: Spencer W. Tanner
Atty-Number: 32436-49
Address: 221 N.W. Fifth Street
P.O. Box 1507, Evansville, Indiana 47706
Phone: 812-422-9444
FAX: 812-421-7459

 

E-mail Address: spencer.tanner@jacksonkelly.com
3. Thisisa_CT _ case type as defined in administrative Rule 8(B)(3).

4. I will accept service by FAX at the above noted number: Yes _X__ No

 
Case 3:17-cv-00141-JMS-MPB Document 1-1 Filed 09/08/17 Page 15 of 18 PagelD #: 20

5. This case involves child support issues. Yes No_X

6. This case involves a protection from abuse order, a workplace violence restraining order,
or ano — contact order. Yes No _X_ The party shall use the following address for
purposes of legal service:

x. Attorney’s address
The Attomey General Confidentiality program address
(contact the Attorney General at 1-800-321-1907 or e-mail address is
confidential@atg.state.in.us).
Another address (provide)

 

7. This case involves a petition for involuntary commitment. Yes No _X

8. If Yes above, provide the following regarding the individual subject to the petition for
involuntary commitment:

a. Name of the individual subject to the petition for involuntary commitment if it is not
already provided in #1 above:

 

b. State of Residence of person subject to petition:

c. At least one of the following pieces of identifying information:
(i) Date of Birth
(ii) Driver’s License Number

 

 

State where issued Expiration date
(iii) State ID number
State where issued Expiration date

(iv) FBI number

(v) Indiana Department of Corrections Number

(vi) Social Security Number is available and is being provided in an attached
confidential document Yes_ No

 

 

9. There are related cases: Yes___ No __X___ (if yes, list on continuation page.)

10. Additional information required by local rule:

 

11. There are other party members: Yes No _X_

12. This form has been served on all other parties and Certificate of Service is attached:
Yes_X_No__
Case 3:17-cv-00141-JMS-MPB Document 1-1 Filed 09/08/17 Page 16 of 18 PagelD #: 21

/s/ James D. Johnson
James D. Johnson
(Attorney information shown above.)

/s/ Spencer W. Tanner
Spencer W. Tanner |

(Attomey information shown above.)

CERTIFICATE OF TRIAL RULE 5(G) COMPLIANCE

I hereby certify that the foregoing document complies with the requirements of Trial Rule 5(G)
with regard to information excluded from the public record under Administrative Rule 9(G).

/s/ James D. Johnson
Case 3:17-cv-00141-JMS-MPB Document 1-1 Filed 09/08/17 Page 17 of 18 PagelD #: 22

 

CT Corporation

TO: Brian L. Enter
Taylor Corporation
1725 Roe Crest Dr

Service of Process
Transmittal
08/21/2017

CT Log Number 531797249

North Mankato, MN 56003-1807

RE: Process Served in lowa

FOR: Rembrandt Enterprises, Inc. (Domestic State: A)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
DOCUMENT(S) SERVED:

COURT/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:
DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

SIGNED:
ADDRESS:

TELEPHONE:

REXING QUALITY EGGS, Pltf. vs. Rembrandt Enterprises, Inc., Dft.
Summons, Complaint, Request, Attachment(s)

Vanderburgh County: Superior Court 7, IN
Case # 82D071708CT004348

Plaintiff seeking compensatory and punitive damages against defendant
C T Corporation System, Des Moines, IA

By Certified Mail on 08/21/2017 postmarked on 08/16/2017

lowa

Within 20 days commencing the day after you receive this summons

James D. Johnson
JACKSON KELLY PLLC
P.O. Box 1507
Evansville, IN 47706
(812) 422-9444

CT has retained the current log, Retain Date: 08/22/2017, Expected Purge Date:
08/27/2017

Image SOP

Email Notification, Brian L. Enter BLEnter@taylorcorp.com

C T Corporation System
400 East Court Avenue
Suite 110

Des Moines, IA 50309
602-277-4792

Page 1 of 1/ CB

Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themseives. Recipient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents.
 

 

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:14-cv-00141-JMS-MPB Document 1-1 Filed 09/08/17 Page 18 of 18 PagelD #: 23

 

 

 

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